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 8   THOMAS PANGBURN, PAUL FRANCISCO, RAYMOND HERR, and
     CHRISTINA KAUPP
 9
10                  UNITED STATES DISTRICT COURT
       FOR THE NORTHEN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
11
12   ESTATE OF RAFAEL RAMIREZ                     Case No.: 4:21-cv-02409-PJH
     LARA, deceased, by and through
13
     PATRICIA RAMIREZ; PATRICIA
14   RAMIREZ; RAFAEL RAMIREZ; and                 NOTICE OF UNAVAILABILITY
     JENNIFER RAMIREZ,
15
                            Plaintiffs,
16   v.
17
     COUNTY OF MONTEREY; SHERIFF
18   STEVE BERNAL, in his individual and
19   official capacity; JAMES BASS, in his
     individual and official capacity;
20   JOHNATHAN THORNBURG, in his
21   individual and official capacity; RAY
     TONGOL, in his individual and official
22
     capacity; J. TEJEDA, in his individual and
23   official capacity; WELLPATH; KIP
24
     HALLMAN; JORGE DOMINICIS;
     THOMAS PANGBURN; PAUL                        Action Filed: April 2, 2021
25   FRANCISCO, RAYMOND HERR; and                 Judge: Hon. Phyllis J. Hamilton
26   CHRISTINA KAUPP,                             Ctrm: 3 – 3rd Floor
                               Defendants.
27
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                                                                      4:21-cv-02409-PJH

                              NOTICE OF UNAVAILABILITY
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 1         TO THE COURT AND TO ALL PARTIES AND THEIR COUNSEL OF
 2   RECORD HEREIN:
 3         PLEASE TAKE NOTICE that commencing on March 16, 2022 through and
 4   including March 25, 2022; April 4, 2022 through and including April 15, 2022;
 5   August 15, 2022 through and including September 3, 2022; September 28, 2022 through
 6   and including September 30, 2022; December 15, 2022 through and including
 7   December 30, 2022, Peter G. Bertling, attorney of record for defendants, WELLPATH,
 8   KIP HALLMAN, JORGE DOMINICIS, THOMAS PANGBURN, PAUL FRANCISCO
 9   RAYMOND HERR, and CHRISTINA KAUPP will be unavailable for any purpose
10   whatsoever.
11         Such unavailability includes, but is not limited to, responding to telephone calls,
12   receiving notices of any kind, responding to ex parte applications, motions, and/or other
13   requests, appearing in Court, or attending depositions. This notice is given pursuant to
14   Tenderloin Housing Clinic, Inc. v. Sparks, 8 Cal.App.4th 299 (1992), and subsequent
15   authority, which restricts the conduct of any attorney who purposely attempts to schedule
16   a conflicting proceeding without good cause and which fails to respect the legitimate
17   interests of fellow members of the bar. In case of emergencies only, a staff member may
18   be reached at (805) 879-7558.
19                                          Respectfully submitted,
20   Dated: December 23, 2021               BERTLING LAW GROUP
21                                          /s/ Peter G. Bertling
22                                          Peter G. Bertling
                                            Attorney for Defendants
23
                                            WELLPATH, KIP HALLMAN, JORGE
24                                          DOMINICIS, THOMAS PANGBURN,
                                            PAUL FRANCISCO, RAYMOND HERR,
25
                                            and CHRISTINA KAUPP
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                               NOTICE OF UNAVAILABILITY
